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THE UNITED STATES DiSTRiCT CoURT
SoUTHERN DISTRICT oF TEXAS AUG l l 29l5 Vcc
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RoBERTo MARTINEZ §
§
Plaintiff, §
§
v. § CIVIL ACTIoN No. 5;15-CV-48
§
Asl LLoYDS, sHANoN WATsoN, §
and ADAM ANDERSoN §
§
Defendants. §

ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE
Plaintiff Roberto Martinez and Defendants ASI Lloyds, Shanon Watson, and Adam
Anderson jointly move to dismiss this action With prejudice, each party bearing its own costs.
After considering the Motion, this Court is of the opinion that the Motion should be, in all things,
GRANTED.
IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Plaintiff and
Defendants’ Joint Motion to Dismiss with Prejudice in its entirety is hereby GRANTED.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that all costs of Court and

attorneys’ fees shall be taxed to the party incurring same.

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sIGNEDthis /F ’day Of / 0 ,2015.

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/ JUDGE gREslr)iNG

 

Order Granting Joint Motion to Dismiss with Prejudice Page l
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